       Case 1:22-cr-00032-AW-MAL Document 32 Filed 06/13/23 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION



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              DEFENDANT JOSEPH HARDING’S UNOPPOSED
              MOTION TO CONTINUE SENTENCING HEARING

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            $VVLVWDQW8QLWHG6WDWHV$WWRUQH\-XVWLQ0.HHQKDVDXWKRUL]HG
       Case 1:22-cr-00032-AW-MAL Document 32 Filed 06/13/23 Page 2 of 3




XQGHUVLJQHGFRXQVHOWRUHSUHVHQWWRWKLV&RXUWWKDWKHGRHVQRWRSSRVHWKHUHOLHI

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            7KLVPRWLRQLVPDGHLQJRRGIDLWKDQGQRWIRUWKHSXUSRVHRI

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                       CERTIFICATE OF COMPLIANCE
                       STATEMENT OF CONSULTATION

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                        CERTIFICATE OF COMPLIANCE
                           MEMORANDUM OF LAW

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      Case 1:22-cr-00032-AW-MAL Document 32 Filed 06/13/23 Page 3 of 3




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                          CERTIFICATE OF SERVICE

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